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1    MICHAEL D. LONG (CA State Bar #149475)
     901 H Street, Suite 301
2
     Sacramento, CA 95814
3    (916) 201-4188
     Mike.Long.Law@msn.com
4
     Attorney for MICHAEL ROMANO
5

6                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
7
     THE UNITED STATES OF AMERICA,                  ) No. 15-190 GEB
8
                     Plaintiff,                     )
9
                                                    ) STIPULATION AND [PROPOSED]
            v.                                      ) ORDER MODIFYING THE SCHEDULE
10                                                  ) FOR Mr. ROMANO’s PRE-SENTENCE
                                                    ) REPORT FOR A NEW SENTENCING DATE
11   MICHAEL ROMANO,                                ) OF JUNE 22, 2018
12
                                                    )
                     Defendant.                     ) Judge: Hon. Garland E. Burrell, Jr.
13   ================================)
14
            Defendant Michael Romano is requesting a continuance of her sentencing hearing, which is
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16
     presently set for May 18, 2018. Mr. Romano is requesting a new sentencing date of June 22, 2018.

17   The continuance is requested to allow Mr. Long to continue to gather documents and information

18   for his formal objections and his sentencing memorandum. AUSA Audrey Hemesath, on behalf of
19
     the United States Attorney’s Office, and USPO Julie Besabe, on behalf of the United States
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     Probation Office, have no objection to the requested continuance. The parties hereby stipulate to re-
21
     set the schedule for the pre-sentence report as follows:
22

23          Judgment and Sentencing Date: June 22, 2018

24          Reply, or Statement of Non-opposition: June 15, 2018
25
            Motion for Correction of the Presentence Report shall be filed with the Court and
26          served on the Probation Officer and opposing counsel no later than: June 8, 2018

27          The final Pre-Sentence Report has already been filed (ECF document 366)
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1    Dated: May 8, 2018                                Respectfully submitted,
2
                                                       /s/ Michael D. Long
3                                                      MICHAEL D. LONG
                                                       Attorney for Michael Romano
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5
     Dated: May 8, 2018                                McGREGOR SCOTT
6                                                      United States Attorney

7                                                      /s/ Audrey Hemesath
8
                                                       AUDREY HEMESATH
                                                       Assistant U.S. Attorney
9
                                 [PROPOSED] ORDER
10

11
           GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.

12         The Court hereby orders that the schedule for Mr. Romano’s pre-sentence report is

13
     amended as follows:

14         Judgment and Sentencing Date: June 22, 2018
15
           Reply, or Statement of Non-opposition: June 15, 2018
16
           Motion for Correction of the Presentence Report shall be filed with the Court and
17         served on the Probation Officer and opposing counsel no later than: June 8, 2018
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           Dated: May 9, 2018
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